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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS

DISPLAY TECHNOLOGIES, LLC,            §
                                      §
      Plaintiff,                      §              Case No: 1:22-cv-00117
                                      §
vs.                                   §              PATENT CASE
                                      §
HILL-ROM HOLDINGS, INC.,              §
                                      §
      Defendant.                      §
_____________________________________ §

              NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

       Plaintiff Display Technologies, LLC (“Plaintiff” and/or “Display”) files this Notice of

Voluntary Dismissal With Prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i).

According to Rule 41(a)(1)(A)(i), an action may be dismissed by the plaintiff without order of

court by filing a notice of dismissal at any time before service by the adverse party of an answer.

Accordingly, Plaintiff hereby voluntarily dismisses this action against Defendant Hill-Rom

Holdings, Inc. with prejudice, pursuant to Rule 41(a)(1)(A)(i) with each party to bear its own fees

and costs.




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Dated: April 5, 2022.                         Respectfully submitted,

                                              /s/April Senter
                                              April Senter
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                                              19624 Governors Hwy
                                              Flossmoor, Illinois 60422
                                              708-586-7505
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                                              ATTORNEYS FOR PLAINTIFF

                                CERTIFICATE OF SERVICE

        I hereby certify that on April 5, 2022, I electronically filed the above document(s) with the
Clerk of Court using CM/ECF which will send electronic notification of such filing(s) to all
registered counsel.
                                               /s/April Senter
                                               April Senter




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